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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                 11/1/23


WAYNE BALIGA,
                                                18 Civ. 11642 (VM)
                       Plaintiff,
                                                ORDER
                - against -

LINK MOTION INC., et al.,

                       Defendants.


VICTOR MARRERO, United States District Judge.

     The Plaintiff and the Receiver are hereby directed to

respond within ten (10) days to Defendant Shi’s letter dated

Oct. 31, 2023 (see Dkt. No. 493).

SO ORDERED.

Dated:     1 November 2023
           New York, New York




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